—_

o ON Oak ON

Case 3:20-cv-00209 -Document 1 Filed on 06/19/20 in TXSD Page 1 of 4

Sutin a Ce Tones
John Shandley 06

John Shan MAR 0 6 2020
San Leon, TX 77539 |

San Leon, TX - David J. Bradiey, Clerk of Cours

Defendant in Pro Se

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

LINDA SOLOOK

Defendant.

) Case No.:
) .
. Plaintiff, ) NOTICE OF REMOVAL
) [28 U.S.C. 1441, 14446 (6)]
vs. )
)
.) FROM THE COUNTY COURT OF
JOHN | SHANDLEY }) GALVESTON COUNTY
) Case No.:20-EVO1-0167
)
)
)

Defendant alleges:

PARTIES AND COUNSEL

4. Defendant, JOHN SHANDLEY, and Plaintiff, LINDA SOLOOK Properties are
those parties in a Texas County Court filed in the Galveston County Court of Galveston
County, concerning real property located at 2712 Ave H, San Leon, TX: 77539,
[hereinafter referred to as "premises"; within this court's jurisdiction.

2. Defendant, John Shandley are the tenants of the premises, and participants
in this litigation.
3. Wherefore, Defendant is a ‘bona fide tenant.

4. Plaintiff is NOT represented by counsel in the County. Court action.
Mt

Mf

—_

oon Oo ao FF W WN

Case 3:20-cv-00209 Document 1 Filed on 06/19/20 in TXSD Page 2 of 4

‘FEDERAL QUESTION

5. Plaintiff has actually filed a Federal Question Action in County Court, for which

the County Court Action is removed under 28 U.S.C. 1441 et seq. Hunter v Philip

Morris, USA, 582 F. 3d 1039, 1042-43 (9th Cir. 2009); 28 U.S.C. 1331.

6. The Complaint in this action was filed in County Court as artful pleading,
entitled by the County Court of Texas as “ Citation - Eviction”. Pleadings intentionally
fails to allege compliance with the Civil Rights Act of 1968.

7. A well-placed Complaint is shown at least where the Plaintiff's right to relief
necessarily depends on resolution of a substantial question of Federal Law.

[Armstrong v N. Mariana Islands, 576 F. 3d 950, 954-55 (9th Cir. 2009); Empire
Healthcare Assurance v. McVeigh 547 US 677, 687-690 (2006); Franchise Tax Bd v.
Const. Laborers Vacation Trust for S. Cal. 463 US 1, 12, 27-28 (1983)].

8. Even where the cause of action is based on state law, the District Court has,
subject matter jurisdiction over the case if (1) the federal issues are essential to the
claims, @) there is a substantial federal issues in resolving such issues, and (3) a
Federal forum’ may entertain the State Law claims without disturbing the balance of
Federal and State judicial responsibilities. [Grable &. Sons Metal Prods v. Darue Engr

& Mfg. 545 US 308, 313, 315 (2005)]. Here, the rights of the Defendants are clearly at

stake.

9. Tobea Federal Cause of Action, there must also bea private right of action.
[Merrill Dow Pharms. Inc. v. Thompson 478 US 804, 817 (1986)]. It can be either
express or implicit. [Diaz v. Davis 549 Fed 3d 1223, 1229-1230 (9th Cir. 2008)]. The

Court must look to the “rights creating" language and statutory structure within which it

is coritained. [Lamie v. Unites States Trustee 540 US 526, 534 (2004)]. The Court

= |

o oN OO OA F WN

ss
©

11

12
13

14
15

16.
17

18
19

20
ot
2

23
24
25
26

27

28

Case 3:20-cv-00209 Document 1 Filed on 06/19/20 in TXSD_ Page 3 of 4

must assume that Congress did not intend to create a right without a remedy. [First
. . . Q
Pacific Bancorp, Inc. v.-Helfer, 224 F. 3d 1117, 1123, 1125-26, (9th Cir. 2000)].

10. Defendant is a members of a protected class of whom the statue, the
“Civil Rights Act of 1968" was created.

11. The Federal Cause of Action in eviction/ejectment is the basis for this action, —

irrespective of artful pleading, such that action could have been brought in Federal

District Court.

REMOVED ACTION
12, The Notice of Removal is timely under Section 1446 (b) of Title 28 of the
United States Code because itis filed within 30 days of discovering that the case was
ripe for removal. x
' 13. A true and correct copy of the County Court Complaint of the action,

Defendant's Pre-Judgment Claim of Right to Possession and related documents, sought
to be removed to this Court are attached hereto and incorporated herein by reference.

14. Defendant is a bona fide residential tenant and entitled to the protection of
the Federal Court, and entitled to remove this action to Federal Court.

45. Under Texas Code of Civil Procedure the County Court hereby loses
jurisdiction under the Federal Rules of Civil Procedure and does not recover jurisdiction,
if at all, until and unless this action is remanded to the County Court, after which

jurisdiction will again attach as described in that statute.

—

NO NM NY NM DH = @ ww» oo 2 ow oe 2 on
F wONH = FD O© DO N ODO OG BR WO HB AS

N Ph
oO a

NO N
co 06Um™N

|

o© oN OO oO KR WO HD

ase 3:20-cv-00209 Document1 Filed on 06/19/20 in TXSD Page Aof4

Dated: March 6, 2020:

Alpin Shandley“ ~ -
fy2ti2bveH
/, San Leon, TX 72539

409-729-5195"
Defendant in Pro Se

